     Case 2:20-cv-01066-AKK-JHE Document 14 Filed 10/21/20 Page 1 of 2                   FILED
                                                                                2020 Oct-21 PM 01:02
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

QUINCETTA CARGILL,                        )
                                          )
       Petitioner,                        )
                                          )
v.                                        )   Case No.:2:20-cv-01066-AKK-JHE
                                          )
U.S. SENTENCING COMMISSION,               )
                                          )
       Respondent.                        )

                          MEMORANDUM OPINION

       The magistrate judge filed a report and recommendation on September 25,

2020, recommending this petition for habeas corpus relief filed pursuant to 28

U.S.C. § 2241 be dismissed without prejudice and that the pending motions be

denied as moot. Doc. 13. Although the petitioner was notified of her right to file

objections within fourteen (14) days, no objections have been received by the court.

      After a de novo consideration of the entire file in this action, including the

report and recommendation, the court ADOPTS the magistrate judge’s report and

ACCEPTS the recommendation. The court finds that the petition for writ of habeas

corpus is due to be DISMISSED WITHOUT PREJUDICE as prematurely filed,

and the pending motions DENIED as MOOT.
      Case 2:20-cv-01066-AKK-JHE Document 14 Filed 10/21/20 Page 2 of 2




A separate order will be entered.

      DONE the 21st day of October, 2020.


                                    _________________________________
                                             ABDUL K. KALLON
                                      UNITED STATES DISTRICT JUDGE




                                      2
